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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 1:16-cv-03006-MJW


MELLISA UMPHENOUR, an individual, on her own behalf and on behalf of LH, her minor
child,

       Plaintiffs,

v.

WESTWOODS STATION, LLC,

       Defendant.


               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE


       Plaintiffs, by and through their undersigned counsel, give notice that this action is
voluntarily dismissed with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Respectfully Submitted this 7th day of March, 2017.


s/ James R. Carr
James R. Carr
ADA Justice Advocates
4800 Baseline Road, Suite E104-289
Boulder, Colorado 80303
Telephone: (303) 963-9840
E-mail: jcarr@adajustice.com
